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                                 U.S. DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

SALBA CORP., N.A., a Canadian corporation,                    Case No.: 6:15-mc-00073-CEM-KRS
SALBA SMART NATURALS PRODUCTS,
a Colorado limited liability company,
WILLIAM A. RALSTON, and
RICHARD L. RALSTON

       Plaintiffs
v.

X FACTOR HOLDINGS, LLC,
an inactive Florida limited liability company,
ANCIENT NATURALS, LLC,
a Florida limited liability company,
MITCHELL A. PROPSTER,
a resident of the State of Florida,
CORE NATURALS, LLC,
a Florida limited liability company, and
NATURAL GUIDANCE, LLC,
a Florida limited liability company,

       Defendants.
                                             /

                        PLAINTIFFS’ CERTIFICATE OF MAILING
                             GARNISHMENT DOCUMENTS

       Plaintiffs, Salba Corp., N.A., Salba Smart Naturals Products, William A. Ralston and

Richard L. Ralston (collectively, “Salba”), in compliance with Section 77.041(2), Florida

Statutes, hereby certify that copies of the (i) Motion for Writ of Garnishment to BMO Harris

Bank, N.A., (ii) Writ of Garnishment to BMO Harris Bank, N.A., and (iii) Notice to Defendant

were mailed to Defendants, via first class mail and via Certified U.S. Mail, with Return Receipt

Requested, on January 25, 2019, at the following addresses:

                              X Factor Holdings, LLC
                              c/o Mitchell Allen Propster
                              3084 Coral Vine Lane
                              Winter Park, FL 32792
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                            Mitchell Allen Propster
                            3084 Coral Vine Lane
                            Winter Park, FL 32792

                            Ancient Naturals, LLC
                            c/o Mitchell Allen Propster
                            3084 Coral Vine Lane
                            Winter Park, FL 32792

                            Core Naturals, LLC
                            c/o Mitchell Allen Propster
                            3084 Coral Vine Lane
                            Winter Park, FL 32792

                            Natural Guidance, LLC
                            c/o Mitchell Allen Propster
                            3084 Coral Vine Lane
                            Winter Park, FL 32792

                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed
electronically via CM/ECF and furnished via U.S. Mail and Certified Mail on this 25th day of
January, 2019 to: X Factor Holdings, LLC, Ancient Naturals, LLC, Core Naturals, LLC, Natural
Guidance, LLC, c/o Mitchell Allen Propster, 3084 Coral Vine Lane, Winter Park, FL 32792.

                                          /s/ Michael A. Tessitore
                                          MICHAEL A. TESSITORE
                                          Florida Bar No. 948039
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                                          JASON P. DEL ROSSO
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                                          Attorneys for Plaintiffs




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